          Case 3:21-cr-00099-SI         Document 28        Filed 01/25/22      Page 1 of 2




                             UNITED STATES DISTRICT COURT

                                     DISTRICT OF OREGON

 UNITED STATES OF AMERICA                                3:21-cr-00099-SI

                v.                                       FINAL ORDER OF FORFEITURE
                                                         Fed. R. Crim. P. 32.2(c)(2)
 CARLOS ARON PALADINI,

                Defendant.



        On June 14, 2021, this Court entered a Preliminary Order of Forfeiture, ordering

defendant Carlos Aron Paladini to forfeit all his right, title, and interest in the following asset:

        $12,300 U.S. currency.

        Pursuant to 21 U.S.C. § 853(n), third parties asserting a legal interest in the above-

described forfeited property are entitled to a judicial determination of the validity of the legal

claims or interests they assert.

        Notice of this criminal forfeiture was published on the official government internet site

(www.forfeiture.gov) for 30 consecutive days. It stated the intent of the United States to dispose

of the property in accordance with the law and notified all third parties of their right to petition

the Court within sixty (60) days for a hearing to adjudicate the validity of their alleged legal

interest in the property.

        The Federal Bureau of Investigation alerted the United States Attorney’s Office that the

seized currency was taken to Loomis to be recounted before being released to the U.S. Marshals
Final Order of Forfeiture                                                                        Page 1
           Case 3:21-cr-00099-SI        Document 28       Filed 01/25/22     Page 2 of 2




Service. During the count, a counterfeit $50.00 U.S. bill was detected. Therefore, the actual

amount available for forfeiture in this case is $12,250.00.

        No timely petitions have been filed with this Court and the time for filing has expired.

        The Court finds that defendant had an interest in the above-described property that is

subject to forfeiture pursuant to 18 U.S.C. § 982.

        IT IS HEREBY ORDERED AND ADJUDGED that pursuant to 18 U.S.C. § 982, all

right, title, and interest to:

        $12,250 in U.S. currency

is hereby forfeited and vested in the United States of America, free and clear of the claims of any

person, including defendant Carlos Aron Paladini. The United States Government is directed to

dispose of the property in accordance with the law.

        The United States District Court shall retain jurisdiction in this case for the purpose of

enforcing this Order.

        IT IS SO ORDERED this ___
                              25 day of January 2022.


                                               _____________________________________
                                               HONORABLE MICHAEL H. SIMON
                                               United States District Judge

Presented by:

SCOTT ERIK ASPHAUG, OSB #833674
United States Attorney

/s/ Lewis S. Burkhart
LEWIS S. BURKHART, OSB #08281
Assistant United States Attorney




Final Order of Forfeiture                                                                     Page 2
